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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                          RESPONDENT


v.                                   No. 4:11-cr-40037-006
                                       No. 4:14-cv-4068

MARCUS SIMS                                                                             MOVANT


             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

       Before the Court is the Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. § 2255 (ECF No. 1319) filed herein by MARCUS SIMS, (hereinafter referred to as “Sims”).

Sims is currently incarcerated at the Bastrop Federal Correctional Institution, Bastrop, Texas. The

Motion was referred for findings of fact, conclusions of law and recommendations for the disposition

of the case. A Response was directed by the Court and has been filed. The Court has considered the

entire record and as set out below recommends this Motion to Vacate, Set Aside, or Correct Sentence

be DENIED.

1. Procedural Background:

       On September 14, 2011, Sims was one of 66 defendants named in an indictment in this

Court. ECF No. 1. He was charged in 13 of the 190 counts of the indictment. Each of the 13 counts

alleged distribution of cocaine base on various dates and at various locations. On September 21,

2012, Sims appeared for an initial appearance and arraignment. ECF No. 911. He was appointed

counsel and entered pleas of not guilty to all counts. On March 12, 2013, Sims pled guilty to Count

43 of the indictment, namely, distribution of cocaine base within 1000 feet of a public housing


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facility in violation of 18 U.S.C. §§ 841(a) and 860(a). ECF No. 1087. As part of the plea

agreement Sims agreed and admitted he had sold cocaine base on January 25, 2011, to a confidential

informant working for law enforcement officers, within 1000 feet of Pinerhurst Village, a public

housing facility located in Texarkana, Arkansas.          ECF No. 1088. Further, as part of the plea

agreement Sims agreed to entry of a Money Judgment against him in the amount of $50,000.00.

This Money Judgment was also entered on March 12, 2013. ECF No. 1089.

       A pre-sentence report (“PSR”)was prepared. Pursuant to the United States Sentencing

Guidelines (“USSG”) the PSR found a total offense level 30, criminal history category III and a

recommended sentence of 121-151 months imprisonment. On October 29, 2013, after reducing

Sims’s total offense level to 281, United States District Judge Susan O. Hickey, sentenced Sims to

97 months imprisonment, six years of supervised release, and a $100 special assessment. ECF No.

1269. This Sentence was later reduced to 78 months imprisonment pursuant to the “crack reduction”

amendments to the USSG. ECF No. 1439. Sims did not appeal this sentence.

2. Instant Petition:

       Sims filed a timely Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §2255

on April 28, 2014. ECF No. 1319. The Court directed a response and the Government filed its

Response on June 10, 2014. ECF No. 1334. Sims thereafter filed, with leave of the Court, a

Supplement to his Motion. ECF No. 1342.2

       In his Motion, Sims asserts five claims for relief:


              1
                The Court reduced the total offense level by 2 levels based on a finding of reduced leadership
      role for Sims, pursuant to USSG § 3B1.1(c).
              2
                  I will consider the Motion and Supplement herein and refer to both collectively as the
      “Motion.”

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        A. Ineffective assistance of counsel in allowing Sims to plead guilty to a crime he
        was factually innocent of committing.

        B. Ineffective assistance of counsel in the sentencing phase of the proceeding.

        C. Sims’s plea of guilty was not voluntary because of counsel’s “false, inaccurate
        and misleading” advice.

        D. Ineffective assistance of counsel in failing to file a notice of appeal after being
        instructed to do so.

        E. Ineffective assistance of counsel in failing to present mitigating evidence at
        sentencing.

As to the first three claims, the Government argues defense counsel was effective. Although

specifically given the opportunity to do so (ECF No. 1342, Order allowing Supplement) the

Government did not address the last two issues which were included in Sims’s supplement to the

Motion. I find this matter is ready for decision.

3. Discussion:

       A § 2255 motion is fundamentally different from a direct appeal. The Court will not

reconsider an issue, which was decided on direct appeal, in a motion to vacate pursuant to § 2255.

See United States v. Davis, 406 F.3d 505, 511 (8th Cir. 2005); Dall v. United States, 957 F.2d 571,

572 (8th Cir.1992) ( “Claims which were raised and decided on direct appeal cannot be relitigated

on a motion to vacate pursuant to 28 U.S.C. § 2255 .”). “Relief under 28 U.S.C. § 2255 is reserved

for transgressions of constitutional rights and for a narrow range of injuries that could not have been

raised on direct appeal and, if uncorrected, would result in a complete miscarriage of justice.”

United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996).

       Sims raises five different claims of ineffective assistance of counsel. In order to prevail on

an ineffective assistance of counsel claim, a movant must show: (1) his “trial counsel's performance


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was so deficient as to fall below an objective standard of reasonable competence”, and (2) “the

deficient performance prejudiced [his] defense.” See Toledo v. United States, 581 F.3d 678, 680 (8th

Cir. 2009)(quoting Nave v. Delo, 62 F.3d 1024, 1035 (8th Cir.1995)). When considering the first

element, there is a “strong presumption that counsel’s conduct falls within the wide range of

professionally reasonable assistance and sound trial strategy.” Toledo, 581 F.3d at 680 (quoting

Garrett v. United States, 78 F.3d 1296, 1301 (8th Cir.1996) (citing Strickland v. Washington, 466

U.S. 668, 689,(1984)). “The burden of proving ineffective assistance of counsel rests with the

defendant.” United States v. White, 341 F.3d 673, 678 (8th Cir. 2003)(citing United States v Cronic,

466 U.S. 648, 658 (1984)).

       Under the first prong of the Strickland test, we consider counsel's performance objectively

and gauge whether it was reasonable “under prevailing professional norms” and “considering all the

circumstances.” Fields v. United States, 201 F.3d 1025, 1027 (8th Cir. 2000)(citations omitted).

The Court should examine counsel's challenged conduct at the time of his representation of the

defendant and we avoid making judgments based on hindsight. See id. There is typically no basis

for finding a denial of effective counsel unless a defendant can show specific errors that “undermined

the reliability of the finding of guilt. . .” White, 314 F.3d at 678. If, however, “counsel completely

fails to subject the prosecution's case to meaningful adversarial testing, there has been a denial of

Sixth Amendment rights making the adversary process presumptively unreliable [and no showing

of prejudice is required].” See id.

       If the Court finds deficient counsel and thus must consider the second prong, prejudice, a

defendant must establish “but for counsel's unprofessional errors, the result of the proceeding would

have been different.” Strickland, 466 U.S. at 694. Prejudice can only be found if, “there is a


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reasonable probability that, but for counsel's unprofessional errors, the result of the proceeding

would have been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Maynard v. Lockhart, 981 F.2d 981, 986 (8th Cir. 1992).

       For the reasons set out below I do not find Sims has established ineffective assistance of

counsel for any of the claimed deficiencies.

       A. Allowing Sims to plead guilty to a crime he was factually innocent of committing: Sims

claims he is “actually innocent” of the crime for which he was convicted because the photographs

of his commission of the crime showed “the control substance transaction actually occurred in the

park vehicle as opposed to a ‘specific location or residence’ within 1000 feet of a public housing

authority facility.” He claims competent counsel would have concluded this “fact”negates an

essential element of the crime to which he pled guilty. Essentially he argues counsel should have

obtained a “specific address location or residence” of the commission of the crime prior to allowing

Sims to plead guilty. This he asserts resulted in a harsher sentence than he would otherwise have

been sentenced.

       A guilty plea in this Court must be supported by factual basis sufficient to support a guilty

plea. See FED.R.CRIM.P. 11(b)(3). In Sims’s case, he signed a written agreement which contained

a factual basis sufficient to support the plea of guilty. ECF No. 1088, pp. 1-2. In this written

agreement Sims’ specifically agreed he sold cocaine base “within 1000 feet of the real property

containing Pine Hurst Village, a public housing authority facility.” At the change of plea proceeding

the Assistant U.S. Attorney read that portion of the plea agreement into the record. ECF No. 1334-1

pp. 9-10 , Transcript of Change of Plea Proceeding. The Court then inquired of Sims if he had any

question about what the plea agreement indicated he was pleading guilty to. Sims replied no. The


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Court then asked Sims how he pleaded to Count 43. Sims answered “Guilty.” ECF No. 1334-1 p.

14, Transcript of Change of Plea Proceeding.

       It is clear from the Plea Agreement and the transcript of the change of plea proceeding, a

factual basis was established before this Court allowing the Court to find Sims guilty of the offense

charged. Further, even had the Assistant U.S. Attorney not established a factual basis for Sims’s

charge and had Sims himself not agreed to that factual basis, he would not be entitled to relief here.

A sentencing judge is not constitutionally required to develop a factual basis for a guilty plea. See

Wabasha v. Solem, 694 F.2d 155, 157–159 (8th Cir.1982)(citing Santobello v. New York, 404 U.S.

257, 261–62 (1971); McCarthy v.. United States, 394 U.S. 459, 464 (1969)). And while Sims did

expressly admit his guilty here, an express admission of guilt is not constitutionally required either.

See Wabasha, 649 F.2d at 157 (citing North Carolina v. Alford, 400 U.S. 25, 37 (1970).

Establishing a factual basis is constitutionally required only where the guilty plea is accompanied

by claims of innocence. Sims did not protest his innocence at the change of plea hearing.

       Sims has established no failure on the part of his counsel which fell “below an objective

standard of reasonable competence.” Further, based on the forgoing, he was in fact guilty of the

offense charged and has suffered no prejudice here. Sims is entitled to no relief on this claim.

       B. Ineffective assistance of counsel in the sentencing phase of the proceeding: Sims claims

his counsel “negated to conduct even a cursory review with the Government” of the discovery

materials pertinent to his case. He claims an evaluation of the discovery materials including the

audio and video recordings would have disclosed the person contained thereon was not him. He also

again argues there was no “specific location” identified of the one drug transaction he pled guilty to

at his change of plea proceeding. Sims claims these deficiencies allowed the Court to enhance his


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sentence with unwarranted USSG enhancements pursuant to USSG §§ 2D1.1(b)(12) and

2D1.2(a)(2).

       The Court properly applied the USSG based on the facts agreed to by Sims at the change of

plea hearing. While no specific address was listed for the transaction which occurred, the stipulated

facts, agreed to by Sims make it clear the drug transaction was within 1000 feet of a public housing

facility. Further, Sims agreed specifically to the following USSG applications:

       i. A 2-level increase for his role in the offense, pursuant to USSG § 3B1.1©.

       ii. A 2-level increase for Sims maintaining a drug premises, pursuant to USSG §
       2D1.1(b)(12).

       iii. A 1-level increase for drug offenses occurring near protected locations. pursuant
       to USSG § 2D1.2(a)(2).

At the change of plea proceeding the Court inquired specifically whether Sims had read the Plea

Agreement, asked whether he had any questions about it, and asked him if he understood all the

terms of the agreement. Sims replied in the affirmative. ECF No. 1334-1, pp. 11-12. Further, at

sentencing Sims did not object to the application of these specific agreed enhancements. “A

defendant may not challenge an application of the Guidelines to which he agreed in a plea agreement

(unless he proves the agreement invalid or succeeds in withdrawing from it).” United States v.

Krzyzaniak, 702 F.3d 1082, 1084 (8th Cir. 2013) (quoting United States v. Barrett, 173 F.3d 682,

684 (8th Cir.1999)).

       Sims agreed to the USSG enhancements. Based on the factual basis provided in the Plea

Agreement and at the change of plea proceeding, the Court would have applied these enhancements

even had there been no stipulation. Accordingly, his counsel had no reason to object to the




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enhancements. Counsel was not ineffective. This claim should be denied.

        C. Sims’s plea of guilty was not voluntarily or knowingly entered: Sims next claims his plea

of guilty was not a knowing and voluntary plea of guilty. He claims this was the result of “false,

inaccurate and misleading advice” given by trial counsel. He again attacks the factual basis of the

plea, alleging his counsel’s “subtle promises to rectify the erroneous factual basis” caused him to

enter the plea of guilty. ECF No. 1320, p. 14. Sims fails to identify a single false, misleading or

inaccurate piece of advice provided by counsel. He makes not a single specific factual allegation of

misconduct or poor performance by trial counsel.

        A guilty plea is valid if entered voluntarily, knowingly, and intelligently, “with sufficient

awareness of the relevant circumstances and likely consequences.” Bradshaw v. Strumpf, 545 U.S.

175, 183 (2005)(discussing requirement a defendant be advised of the elements of offense in order

to enter knowing plea of guilty). The United States Supreme Court has long afforded a plea of guilty

made in open court a strong presumption of validity:

        [T]he representations of the defendant, his lawyer, and the prosecutor at such a
        hearing, as well as any findings made by the judge accepting the plea, constitute a
        formidable barrier in any subsequent collateral proceedings. Solemn declarations in
        open court carry a strong presumption of verity. The subsequent presentation of
        conclusory allegations unsupported by specifics is subject to summary dismissal, as
        are contentions that in the face of the record are wholly incredible.

Blackledge v. Allison, 431 U.S. 63, 73-74 (1977). Here Sims was given several opportunities at the

change of plea proceeding to raise this issue. Instead, he agreed with the Plea Agreement, agreed

with the factual basis presented, and affirmatively stated he had not been promised anything or

threatened in any way to enter the plea of guilty. The Court explained to him he had a constitutional

right to persist in his plea of not guilty if he chose to do so. Sims, at every turn, indicated the plea



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agreement was entered into freely, voluntarily, and with full knowledge of its terms. ECF No. 1334-

1, pp. 11-13.

        Further, Advisory Committee Note to Rule 4, Rules Governing Habeas Corpus Cases

requires specific factual allegations. “(N)otice pleading is not sufficient, for the petition is expected

to state facts that point to a ‘real possibility of constitutional error.” Blackledge, 431 U.S. at 75-56.

Sims only factual claim is that counsel made “subtle promises to rectify the erroneous factual basis”

of the change of plea. This clearly insufficient.

        For the foregoing reasons this claim should be denied.

        D. Ineffective assistance of counsel in failing to file a notice of appeal: Sims’s next claim

is he instructed his trial counsel to file a notice of appeal and counsel failed to do so. The

Government did not respond to this allegation. As an initial matter, I note Sims affirmatively waived

his right to an appeal by the terms of the Plea Agreement. Specifically the Plea Agreement stated:

        8. In consideration of the promises and concessions made by the United States in this
        Plea Agreement, the defendant knowingly and voluntarily agrees and understands the
        following appellate and post conviction terms of this agreement:

            a. the defendant waives the right to directly appeal the conviction and sentence
            pursuant to 28 U.S.C. § 1291 and/or 18 U.S.C. § 3741(a);

ECF No. 1088, p. 5-6. Further, at the change of plea proceeding the following colloquy between

Sims and the Court occurred:

        THE COURT: Now Mr. Sims, do you have any questions on what Mr. Quinn has
        indicated the plea agreement says?

        SIMS: No, ma’am.

        THE COURT: Have you read this plea agreement and gone over it with your
        attorney?



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        SIMS: Yes, ma’am.
        ...
        THE COURT: And you understand that in paragraph 8 of this plea agreement you are
        giving up your constitutional right to appeal both the conviction and sentence
        received in this case. You are giving up the right to collaterally attack that sentence
        and conviction except under certain circumstances. And you are giving up the right
        to ask for modification of this sentence except when the government files a Rule
        35(b) downward departure. Do you understand that you are giving up these
        constitutional rights in this document?

        SIMS: Yes, ma’am.

        THE COURT: Okay, and you’re willing to do that?

        SIMS: Yes, ma’am.

        THE COURT: Mr. Sims, I’ve looked at the, I guess the new and revised plea
        agreement that the government has handed me. It appears to have your signature. Is
        this signature voluntarily and of your own free will?

        SIMS: Yes, ma’am.

        THE COURT: Okay. Did anyone force or threaten you to sign this agreement?

        SIMS: No, ma’am.

        THE COURT: Did anyone make you any promises, other than those that are
        contained in the plea agreement, to get you to sign the plea agreement?

        SIMS: No ma’am.

        THE COURT: Did anyone put any pressure on you to sign it?

        SIMS: No, ma’am.

 ECF No. 1334-1, pp. 11-13. Sims clearly waived his right to a direct appeal of the sentence in this

 case. Such a waiver is valid if it was entered into “knowingly and voluntarily.” United States v.

 Andis, 333 F.3d 886, 890 (8th Cir. 2003). As discussed above, Sims clearly entered the plea of

 guilty, freely, voluntarily and knowingly. This waiver is therefore valid.



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        Here Sims alleges “after he and counsel reviewed the PSI [pre-sentence investigation,

 presumably the PSR], he informed counsel to file a notice of appeal based on the inconsistency of

 the factual basis and the drug quantity and counsel told him he would do so but no appeal was ever

 filed. This statement does not comport with the facts of the case. After the PSR was filed, Sims

 appeared for sentencing. He first stated he knew what was happening and indicated he was satisfied

 with his counsel. ECF No. 1333, p. 5. The Court again recited the factual basis of the plea of guilty.

 ECF No. 1333, p. 5-6. Sims had no objection. Sims indicated he had seen the PSR and reviewed

 it with his lawyer. ECF No. 1333, p. 8. The Court granted Sims’s single written objection to the

 PSR. ECF No. 1333, p. 8-9. Sims’s trial counsel spoke on his behalf. ECF No. 1333, p. 11-12.

 Sims was provided with the right of allocution. He spoke to the Court. ECF No. 1333, p. 12. Sims

 did not mention any concerns with the factual basis, or a request to appeal. Sims did not state he was

 dissatisfied with his lawyer or with the waiver of the right to appeal. Finally, the Court sentenced

 Sims as outlined above and stated the following:

        Mr. Sims, I need to tell you about your appeal rights. In paragraph eight of your Plea
        Agreement, you waived your right to appeal both the conviction and the sentence in
        this case except under certain circumstances. If you do appeal, you must do so within
        14 days of the entry of the Judgment in this case, which will be some time this week,
        probably today or tomorrow. So you've got 14 days to appeal.

 ECF No. 1333, p. 17-18. Sims said nothing in response to this admonition.

        Typically, a defendant claiming ineffective assistance of counsel must show both deficient

 performance by his counsel and actual prejudice to his defense. See Toledo, 581 F.3d at 680. The

 defendant bears the burden of showing he requested an appeal. See Barger v. United States, 204

 F.3d 1180, 1182 (8th Cir. 2000) (citations omitted). “A bare assertion by the petitioner that she




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 made a request is not by itself sufficient to support a grant of relief, if evidence that the fact-finder

 finds to be more credible indicates the contrary proposition.”         Id. For a claim of ineffective

 assistance of counsel by failure to file a notice of appeal to succeed, the defendant must show that

 he manifested a desire to appeal his conviction and sentence. See id., see also United States v. Luke,

 686 F.3d 600, 606 (8th Cir. 2012) (“While actual prejudice is not required, the attorney must have

 been aware of the client's desire to appeal.”).

         I find based on the record of this case Sims did not request counsel file a notice of appeal.

 Sims makes a bare assertion he demanded an appeal. However, a review of the record indicates the

 issue of appeal and his waiver of the right to appeal was raised in the Plea Agreement and several

 times by the Court in the change of plea proceeding and at sentencing. Sims never mentioned his

 desire to appeal even when the Court specifically addressed the issue telling him at sentencing he

 had waived the right to appeal. I find Sims’s bare assertion not credible. I also find an evidentiary

 hearing on this issue is not required.

         Counsel was not ineffective in this regard as Sims did not demand an appeal.

         E. Ineffective assistance of counsel in failing to present mitigating evidence at sentencing:

 Here Sims alleges his counsel failed to investigate his medical condition and failed to present

 mitigating evidence at sentencing. The Government did not respond to this allegation. Sims makes

 no specific allegation in this regard however. As noted above “notice pleading is not sufficient, for

 the petition is expected to state facts that point to a ‘real possibility of constitutional error.”

 Blackledge, 431 U.S. at 75-56. Sims’s claim fails here for failing to assert any specific facts

 regarding his medical condition or possible mitigating facts.




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        Considering this claim on the merits to the extent possible with no factual allegations, I note

 the PSR contained a synopsis of his family history. ECF No. 1263, pp. 17-18. It also contained the

 following information about his physical well being:

        58. The defendant is 6 feet, 5 inches tall and weighs 350 pounds. He has brown eyes and
        black hair. He has acne scars on his face. The defendant has a scar on his left forearm,
        pockmarks, a scar on his upper left arm, a scar on his upper right arm, a scar on his left
        thigh, a scar on his face, and scars on both legs. He reported he has scars under both arms
        due to surgeries for clogged sweat glands. He reported having two major surgeries at
        Wadley Hospital in Texarkana, Texas in 1999 and 2001.

        59. He reported that he had surgery on his back due to a pinched nerve in 2000. He reported
        that he currently takes steroids and medications to deal with the pain.

        60. He reported that he was treated in the emergency room on July 7, 2001, because “I got
        stabbed by my girlfriend.” He sustained lacerations on his forearm and knee.

        61. The defendant reported no history of mental or emotional problems, and no history of
        treatment for such problems.

        62. In his presentence report from 2004, the defendant reported that his primary substance
        of abuse was Ecstasy. He reported that he used the substance on a regular basis for several
        years. He further reported that he rarely used alcohol, cocaine, or marijuana, but believed
        that he was addicted to Ecstasy.

        63. In the presentence interview for the instant offense, the defendant reported previously
        abusing alcohol, marijuana and Xanax. He reported that his drug of choice is Xanax.

        Further, at the sentencing hearing Sims’s counsel made the following request:

        COUNSEL: If I may, Your Honor, one thing I forgot to address, Mr. Sims has asked
        me to address, he does desire to have the recommendation for the treatment program
        and he has indicated to me that he has had some medical issues as well while he's
        been incarcerated here in Arkansas and we hope that medical unit might be available.

 ECF No. 1333, p. 14. Judge Hickey acknowledged this request and indicated she would recommend

 placement in a medical facility.

        Based on the foregoing discussion, I find trial counsel was not ineffective in any of the



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 particulars alleged by Sims. Sims’ Motion should therefore be denied.

 4. Evidentiary Hearing:

         The Court also concludes that an evidentiary hearing is not required in this matter. The record

 conclusively shows Petitioner is not entitled to the relief he seeks. See Buster v. United States, 447

 F.3d 1130, 1132 (8th Cir.2006) (holding that a § 2255 motion can be dismissed without a hearing

 if (1) the petitioner's allegations, accepted as true, would not entitle the petitioner to relief, or (2) the

 allegations cannot be accepted as true because they are contradicted by the record, inherently

 incredible, or conclusions rather than statements of fact).

 5. Certificate of Appealability:

         A defendant may not appeal a final order in a proceeding under 28 U.S.C. § 2255(d) without

 first securing a certificate of appealability. See 28 U.S.C. § 2253(c)(1)(B). A district court should

 not grant a certificate of appealability unless the movant “has made a substantial showing of the

 denial of a constitutional right.” Id. § 2253(c)(2). This standard requires a demonstration that

 “jurists of reason could disagree with the district court’s resolution of his constitutional claim or that

 jurists could conclude that issues presented are adequate to deserve encouragement to proceed

 further.” Miller-el v. Cockrell, 537 U.S. 322, 327 (2003). In other words, a movant must show the

 district court’s resolution of the constitutional claim was either “debatable or wrong.” Miller-el, 537

 U.S. at 338. Any Certificate of Appealability issued by the Court must state “which specific issue

 or issues satisfy the showing required by paragraph (2).” 28 U.S.C. § 2253(c)(3).

         In this case, it is clear Sims has failed to show his counsel was in any way ineffective as

 alleged. He has not made a substantial showing of violation of a constitutional right. Accordingly




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 no Certificate of Appealability should be granted.

 6. Recommendation:

        Accordingly, based on the foregoing, it is recommended the instant Motion to Vacate, Set

 Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (ECF No. 1319) be DENIED. I further

 recommend no Certificate of Appealability issue in this matter.

        The parties have fourteen (14) days from receipt of our report and recommendation in

 which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

 objections may result in waiver of the right to appeal questions of fact. The parties are

 reminded that objections must be both timely and specific to trigger de novo review by the

 district court.

        DATED this 18th day of February 2015.


                                               /s/ Barry A. Bryant
                                              HON. BARRY A. BRYANT
                                              U.S. MAGISTRATE JUDGE




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